      Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 1 of 22



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

           v.

LEE ELBAZ,                           Criminal Action No. TDC-18-157
  a/k/a “Lena Green,”

           Defendant




                        GOVERNMENT’S TRIAL BRIEF
               Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 2 of 22



                                                       TABLE OF CONTENTS

I.         FACTS TO BE PRESENTED AT TRIAL ............................................................................. 1

      A.        Overview .......................................................................................................................... 1

      B.        The Fraud Scheme & Defendant’s Role .......................................................................... 1

      C.        Fraudulent Tactics Designed to Undermine the Clients .................................................. 4

II.        THE OFFENSES CHARGED ................................................................................................ 5

III. ANTICIPATED LEGAL ISSUES THAT MAY ARISE AT TRIAL .................................... 6

      A.        Defendant’s Post-Arrest Statements ................................................................................ 6

      B.        Legal Opinions, Good-Faith, and Advice-of-Counsel Defenses ..................................... 8

      C.        Admissibility of Co-Conspirator Statements Under Rule 801(d)(2) ............................... 9

      D.        Evidence Obtained via Search Warrants to Google ....................................................... 11

      E.        Emails Obtained by MLAT ........................................................................................... 12

      F.        Financial Records from SpotOption Obtained via MLAT ............................................ 14

      G.        Admissibility of Translated Documents and Transcripts............................................... 15

      H.        Admissibility of Statements by Non-Testifying Victims............................................... 17

      I.        Newspaper Articles Sent by Defendant to a Co-Conspirator ........................................ 17

      J.        Testimony Regarding Irrelevant Matters ....................................................................... 18




                                                                          ii
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 3 of 22



       The United States of America by and through undersigned counsel, respectfully submits

this trial brief for purposes of summarizing the legal and factual issues it believes will be relevant

to the upcoming trial, set to begin on July 16, 2019.

I.     FACTS TO BE PRESENTED AT TRIAL

       A.      Overview

       From in or around May 2014 through in or around June 2017, the defendant, Lee Elbaz,

directed a scheme to defraud binary options investors by lying to investors and misleading them

about the nature of binary options trading and the defendant’s business. Among other things, the

defendant lied to clients about the gains victims should expect to receive; historical rates of return

binary options investors received; the alignment of financial interests between the defendant’s

company and clients (i.e., wrongly telling investors that they only made money when clients made

money); the education, credentials, and experience of the defendant and her employees; and even

their names and location. The defendant directed the scheme and exercised significant oversight

of the scheme, both on a strategic and day-to-day level by hiring and training employees to tell the

same lies to clients over and over, in order to induce clients to send money. The defendant also

trained her employees to engage in fraudulent tactics to prevent clients from withdrawing funds

from their accounts. Through this scheme, the defendant and her co-conspirators defrauded tens

of thousands of victims worldwide, including thousands here in the United States, and caused tens

of millions of dollars in victim losses.

       B.      The Fraud Scheme & Defendant’s Role

       On a high level, the scheme to defraud worked as follows. The defendant and her co-

conspirators purchased client leads from companies that advertised wealth-investment schemes




                                                  1
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 4 of 22



online (with campaigns bearing names such as “Millionaire’s Club”). 1 After a lead was purchased,

a victim-client was solicited to make a small investment — such as $250 — as a way to entice

them to open a binary options account. If a client made that initial small deposit, he or she was

passed along to a different agent (known as the “retention agent”). 2 The retention agent’s

responsibility was first to obtain a significantly larger deposit — often thousands of dollars. To

get that money, the agent would regularly contact the client by phone and email, pitching

aggressive and fraudulent sales tactics, to encourage clients to invest more money. Conversely,

when clients tried to withdraw money, the defendant and her co-conspirators would often use a

variety of devices to prevent withdrawals, ranging from pretextual excuses to simply ignoring

withdrawal requests.

       The majority of the government’s case will focus on the operations of a call center located

in Caesarea, Israel and operating under the name Yukom Communications (“Yukom”). Yukom’s

employees were focused exclusively on the “retention” work described above (i.e., soliciting larger

additional deposits) and operated primarily under two different client-facing brands: BigOption

and BinaryBook. The government anticipates that multiple cooperating witnesses from Yukom’s

Caesarea offices will testify at trial, and each will acknowledge that employees solicited money

from victim-clients through a multitude of lies. Each will testify that it was the direction from

Yukom management that employees obtain money through false promises.




1
  After a time, the defendant and her co-conspirators expanded the operations and also generated
their own leads in-house through similar campaigns.
2
  In the scheme’s vernacular, the initial $250 deposit was solicited by “conversion” agents, many
of whom were located in Mauritius. The subsequent larger, longer-running solicitation was done
by “retention” agents. Agents in the Israel-based offices that reported to the defendant were
focused exclusively on retention.

                                                2
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 5 of 22



       As she acknowledged in her post-arrest interview, the defendant held various managerial

roles at Yukom, ultimately holding the title Chief Executive Officer. When the defendant started

at Yukom in 2014, Yukom was new and employed only a few agents to solicit money; by 2016,

Yukom had expanded to over 100 employees. The growth in employees corresponded in a growth

in investor funds collected. Videos taken inside Yukom, for example, show the defendant

congratulating Yukom employees in December 2014 for collecting around $2.5 million net that

month. A March 2016 video shows her encouraging her employees to target $9 to $10 million for

that month.

       The government anticipates that cooperating witnesses will explain the tight control the

defendant exercised over the company, and the long hours she spent on the call center’s floor.

According to these witnesses, not only did the defendant hear employees make false statements,

she encouraged and trained them to do so. Physical evidence corroborates this testimony.

Recordings of training sessions at Yukom feature managers practicing lies with new employees.

Emails sent to the defendant contain call scripts given to employees, in which employees are

instructed to make up credentials (such as business degrees) and falsely claim to have high

historical trading success rates. In other emails, the defendant forwards recordings of calls between

employees and clients, where the employees falsely promise guaranteed profits and lie about their

historical rates of return. Testimony and other evidence will establish the defendant circulated

these calls to train employees about what she thought a “good” call should sound like.

       While the defendant retained management over the Caesarea office, she was also involved

in parts of the scheme elsewhere in the world. Testimony and documentary evidence will show

that the defendant traveled to other offices in Mauritius and Ukraine, where she was responsible

for ensuring employees there engaged in the same high-pressure and fraudulent sales techniques



                                                 3
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 6 of 22



used in Caesarea. Similarly, jurors will learn that in mid-2015, the defendant helped the scheme

expand through a new office in Tel Aviv, Israel, which operated under the brand “Numaris.”

Testimony from cooperating witnesses, corroborated by internal emails and text messages seized

from the defendant’s phone, will show that the defendant was involved in hiring and training Tel

Aviv employees. The evidence will establish that the Tel Aviv office employed the same scheme

to take money from victim-investors and that the defendant celebrated the office’s success.

       C.      Fraudulent Tactics Designed to Undermine the Clients

       In her video-recorded post-arrest statement, the defendant falsely told FBI agents that she

hoped her clients won while trading and that it was good for her when that happened. Similarly,

the government anticipates that evidence at trial (including recorded calls) will establish that

clients were falsely assured by account managers that their interests were aligned (through

statements such as, “I make money when you make money”).

       In reality, testimonial and documentary evidence will show that the defendant and her co-

conspirators were only paid commissions on net deposits — the difference between the amount

victim-clients deposited into their accounts and the amount they withdrew. A client’s trading

performance usually had no effect on any employee’s compensation, and good trading

performances (which were rare) could only hurt Yukom’s compensation. Similarly, to prove the

falsity and materiality of statements about aligned interests, the government will introduce

evidence of actions the defendant and her co-conspirators took to prevent the clients (1) from

winning while trading and (2) withdrawing money from their accounts.

       One tactic the defendant used to undermine clients was known as putting a winning client

on “high risk.” SpotOption, an entity that hosted the platform (in effect, the software and trading

data) on which BinaryBook and BigOption trading accounts operated, also controlled client “risk



                                                4
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 7 of 22



settings.” If a client was identified inside BinaryBook and BigOption as trading successfully, the

defendant would contact SpotOption and arrange for the client’s account settings to be adjusted

such that it was less likely future bets would win. By stacking the deck against the client (without

informing the client of the changes), the defendant prevented scenarios where clients would try to

withdraw winnings.

       Similarly, the defendant took significant actions to prevent clients from withdrawing any

money (including their own deposits) from the accounts. For example, when the defendant

anticipated a particular client might withdraw money, the defendant would instruct co-conspirators

to place long-term trades into that client’s account, a technique referred to as “exposing the client.”

After placing the trade, the account manager would tell the victim-investor that he or she was

ineligible to withdraw any money until the trade expired.

       Another way to prevent client withdrawals was a technique known as “bonus” deposits, in

which the defendant or a co-conspirator would credit a trading account with a purported “bonus.”

After placing the bonus in the client’s account, the defendant and her co-conspirators would inform

the client that the bonus had terms-and-conditions that required an extremely high number of trades

(often twenty-to-thirty times the bonus “value”) to be placed before any money in the account

could be withdrawn. Testimony at trial will confirm that “bonuses” were a common way to prevent

withdrawals.

II.    THE OFFENSES CHARGED

       The Indictment charges the defendant with conspiracy, in violation of 18 U.S.C. § 1349

(Count 1) and wire fraud, in violation of 18 U.S.C. § 1343 (Counts 2-4). Each substantive count

of wire fraud involves a victim-investor who resides in the state of Maryland.




                                                  5
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 8 of 22



III.   ANTICIPATED LEGAL ISSUES THAT MAY ARISE AT TRIAL

       The government herein identifies various legal issues that may arise during trial. Many

involve the admissibility of certain evidence. A district court has broad discretion in determining

the admissibility of evidence. See Tome v. United States, 513 U.S. 150, 174 (1995). As the Fourth

Circuit has explained, “[j]udgments of evidentiary relevance and prejudice are fundamentally a

matter of trial management, for trial judges are much closer to the pulse of a trial.” United States

v. Benkahla, 530 F.3d 300, 309 (4th Cir. 2008); see also United States v. Siegel, 536 F.3d 306, 325

(4th Cir. 2008).

       A.      Defendant’s Post-Arrest Statements

       Shortly after her arrest on September 14, 2017, the defendant agreed to be interviewed by

agents from the Federal Bureau of Investigation (“FBI”). The defendant received Miranda

warnings — both verbally in English and written in Hebrew — and signed a written waiver before

the interview. The government promptly provided the defense with a copy of the video, which, to

date, the defense has not sought to suppress or exclude. The government intends to offer relevant

excerpts of the defendant’s interview, as these statements are admissible as admissions of a party-

opponent under Federal Rule of Evidence 801(d)(2)(A), and are highly probative of the ultimate

issues in this case. See United States v. Wills, 346 F.3d 476, 489 (4th Cir. 2003) (concluding

defendant’s statements “were admissions by a party-opponent” and “admissible pursuant to

Federal Rule of Evidence 801(d)(2)(A)”). As discussed infra, transcripts of these excerpts of the

defendant’s statements are also proper to aid jurors during trial and deliberations.

       Among other things, during her interview, the defendant admitted that 95% of clients who

sent money to BinaryBook and BigOption lost money, and falsely claimed that she disclosed this

fact to victim-clients. The defendant also acknowledged that she used an alias while working at



                                                 6
         Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 9 of 22



Yukom (which she called a “stage name”) and that Yukom employees were paid a commission

based on net deposits — client deposits minus withdrawals. The defendant falsely denied that

bonuses were just a tool to prevent clients from withdrawing money and told investigators that any

client who requested a withdrawal could get their money back, unless the client was subject to

bonus turnover requirements. The defendant also falsely denied ever requesting a change to a

client’s risk settings to increase the likelihood that a client would begin losing trades. Finally, the

defendant also falsely claimed that she was unaware of managers encouraging Yukom employees

to lie to clients.

        While the government may offer relevant excerpts of the defendant’s post-arrest interview,

the Federal Rules of Evidence and the law of the Fourth Circuit prevent the defendant from

admitting potentially exculpatory portions of her post-arrest statement. At the outset, a defendant

generally may not offer her out-of-court hearsay statement into evidence. United States v. Harry,

816 F.3d 1268, 1279 (10th Cir. 2016). With respect to any argument that the defendant’s

statements may be admissible under the “rule of completeness,” as the Fourth Circuit has

explained, the rule of completeness, does not “render admissible the evidence which is otherwise

inadmissible under the hearsay rules.” United States v. Lentz, 524 F.3d 501, 526 (4th Cir. 2008).

Moreover, the rule of completeness does not “require the admission of self-serving, exculpatory

statements made by a party which are being sought for admission by that same party.” See id. at

526 (internal quotation omitted); see also United States v. Lutz, 153 F.3d 723, 1998 WL 486345,

at *5 (4th Cir. 1998) (affirming exclusion of “additional testimony” that was “replete with a

number of self-serving and irrelevant statements which go beyond clarifying or explaining the

testimony offered by the prosecution”).




                                                  7
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 10 of 22



        Rather, the rule of completeness only applies “when one party has made use of a portion

of a document, such that misunderstanding or distortion can be averted only through presentation

of another portion.” United States v. Ellis, 121 F.3d 908, 921 (4th Cir. 1997) (internal quotation

omitted). As this Court has recently explained, the rule of completeness “should only come into

play when it is clear that the incomplete version” is “unfairly misleading” and even then, “only

information that is essential to dispel the misleading impression should be admitted.” United

States v. Bailey, 322 F. Supp. 3d 661, 674 (D. Md. 2017). Here, the government seeks to introduce

portions of the defendant’s post-arrest interview that are clear and do not require additional context

or explanation. As such, this Court should decline to admit any portions of the defendant’s post-

arrest statement identified by the defense.

        B.      Legal Opinions, Good-Faith, and Advice-of-Counsel Defenses

        As this Court is aware, and as the government has recently set forth in its Motion in Limine

to Preclude Defendant’s Use of Undisclosed Communications or Writing Involving Attorneys

(D.E. 221) and its Motion to Compel Production of Documents (D.E. 232), the defense has notified

the government that “her intent to commit fraud or absence of such intent, and whether she was

acting in good faith, will be at issue at trial” and “[t]o the extent that she saw legal opinions or had

them described to her, she plainly is entitled to put on evidence about those opinions and

communications.” D.E. 226 at 7. The government relies on its prior submissions on this point and

will not rehash them here. Rather, the government reiterates its argument that the defendant, who

has known about and had access to these opinions for years, should not be permitted to cherry-

pick legal opinions at the eleventh hour and rely on them as the basis for a good faith defense. See

United States v. Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2018) (“Defendants’ decision on

whether to assert the advice-of-counsel defense may impact the scope of discovery otherwise



                                                   8
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 11 of 22



permitted or ordered, and thus risks unnecessary interruption and delay if asserted at trial.”)

(internal quotation and alterations omitted); see also United States v. Mubayyid, No. CRIM 05-

40026-FDS, 2007 WL 1826067, at *2 (D. Mass. June 22, 2007) (“[Advice-of-counsel defenses]

are ordinarily fact-intensive defenses that are likely to create substantial problems of fairness and

efficiency if raised for the first time during the trial.”).

        C.      Admissibility of Co-Conspirator Statements Under Rule 801(d)(2)

        The government intends to introduce prior statements of the defendant’s co-conspirators,

primarily made while working at Yukom, Numaris, or one of the other implicated companies. 3

Co-conspirator statements in this case include (a) internal company emails; (b) emails and

recordings in which co-conspirators communicated with (and made false representations to)

victim-clients; (c) recordings made during Yukom training sessions; (d) videos extracted from the

defendant’s cellphone that show operations inside Yukom; and (e) text messages recovered from

the defendant’s cellphone. Such statements are not hearsay because they will be “offered against

an opposing party” and were “made by the party’s coconspirator[s] during and in furtherance of

the conspiracy.” FED. R. EVID. 801(d)(2)(E); United States v. Pratt, 239 F.3d 640, 643-44 (4th




3
  These co-conspirators include Yossi Herzog, Yakov “Kobi” Cohen, Ori Maymon (a/k/a “Patrick
Accardo”), Elad Bigelman (a/k/a “Michael Goldberg”), Nissim Alfasi (a/k/a “Nick Onasis”),
Ronen Roytman (a/k/a “Alexander Goldman”), Liora Welles (a/k/a “Lindsay Cole,” “Lindsay
Taylor,” and “Lindsey Wells”), Yair Hadar (a/k/a “Steven Gold”), Shira Uzan (a/k/a “Emily
Laski”), and Austin Smith (a/k/a “John Reid”). The government does not intend for this to be an
exhaustive list, as the defendant supervised dozens of employees during her time at Yukom, and
trained and directed those individuals to lie to clients in furtherance of the scheme to defraud.
However, the government has identified here a list of the defendant’s co-conspirators (and their
“stage names”) that are most likely to appear on emails the government intends to offer as evidence
at trial, including the names of the five individuals who have pleaded guilty to conspiracy charges
in connection with the defendant’s scheme and the three individuals who have been named as the
defendant’s co-conspirators in the partially unsealed Herzog Indictment. See United States v.
Herzog, et al, Case No. 8:19-CR-77(PX).

                                                     9
       Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 12 of 22



Cir. 2001).   Moreover, “[t]he statement need not be made by one conspirator to another

conspirator.” United States v. Manfre, 368 F.3d 832, 837 (8th Cir. 2004).

       Under Rule 801(d)(2), the government must show “(1) that there was a conspiracy

involving the declarant and the party against whom admission of the evidence is sought and (2)

that the statements at issue were made during the course of and in furtherance of that conspiracy.”

United States v. Blevins, 960 F.2d 1252, 1255 (4th Cir. 1992). In determining whether this burden

has been met, the Court is free to consider the statements itself as well as any other evidence,

“bound only by the rules of privilege.” Bourjaily v. United States, 483 U.S. 171, 178 (1987).

       Courts construe the “in furtherance” requirement broadly “lest the purpose of the exception

be defeated.” United States v. Cornett, 195 F.3d 776, 782 (5th Cir. 1999). The statement must be

“intended to promote the conspiracy’s objectives, whether or not it actually has the effect.” United

States v. Shores, 33 F.3d 438, 443 (4th Cir. 1994).      Furthermore, the statement need not be

“exclusively, or even primarily, made to further the conspiracy,” if there is “some reasonable

basis” for concluding that it was designed to further the conspiracy. Id. at 444 (internal quotation

omitted). In addition, “[s]tatements are made in furtherance of a conspiracy if they can reasonably

be interpreted as encouraging a co-conspirator or other person to advance the conspiracy, or as

enhancing a co-conspirator or other person’s usefulness to the conspiracy.” United States v. Miller,

738 F.3d 361, 374 (D.C. Cir. 2013) (internal quotation omitted). “Such statements include those

that keep a coconspirator updated on the status of the business, motivate a coconspirator’s

continued participation, or provide background information on key conspiracy members.” Id.

(internal quotation omitted). The statement at issue “need not have been exclusively, or even

primarily, made to further the conspiracy’” and may be “susceptible of alternative interpretations.”

Garlington v. O’Leary, 879 F.2d 277, 284 (7th Cir. 1989).



                                                10
       Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 13 of 22



       The court need not decide the ultimate admissibility of the co-conspirator statements prior

to trial; instead, the statements may be conditionally admitted. The Fourth Circuit has rejected the

formalistic requirement that there must be a hearing to determine the existence of a conspiracy

before statements can be admitted under Rule 801(d)(2)(E). Instead, this Circuit “allow[s] a trial

court to conditionally admit co-conspirators’ statements subject to the subsequent satisfaction of

the requirements for their admission.” Blevins, 960 F.2d at 1256 (internal citation omitted). 4

       D.      Evidence Obtained via Search Warrants to Google

       The government intends to offer emails obtained through court-authorized searches of

accounts hosted by Google, Inc. (“Google”). 5 In advance of trial, the government has provided

the defense with the relevant certifications from Google under Federal Rule of Evidence 902(11)

and engaged in discussions with the defense about stipulating to the authenticity of these

documents. In the event the parties are unable to reach a stipulation as to authenticity, the

government respectfully submits that these records, which were obtained from legally valid search

warrants served on Google are self-authenticating under Rule 902(11) and otherwise admissible.

See United States v. Hassan, 742 F.3d 104, 133 (4th Cir. 2014).




4
 In addition to Rule 801(d)(2)(E), many of the documents in question also admissible under Rule
801(d)(2)(D), as statements “offered against an opposing party” and made by the opposing party’s
“employee on a matter within the scope of that relationship and while it existed. ” FED. R. EVID.
801(d)(2). As the Fourth Circuit has explained, statements are admissible under Rule 801(d)(2)(D)
whenever an employee makes a statement about a matter within the scope of her employment,
even if she is not authorized to speak on the matter.” United States v. Poulin, 461 F. App’x 272,
2012 WL 130753, at *7 (4th Cir. 2012) (internal quotations omitted). “[A] statement of illegal
activity can still be within the scope of employment and can be admissible under 801(d)(2)(D).”
United States v. Riley, 621 F.3d 312, 338 (3rd Cir. 2010) (citation omitted).
5
  While many of these accounts have domains such as “bigoption.com” and “binarybook.com,”
the accounts were hosted by Google.

                                                11
          Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 14 of 22



          Pursuant to Federal Rule of Evidence 902(11), certified domestic records of regularly

conducted activities are self-certifying and admissible without the testimony of custodial witnesses

under Federal Rule of Evidence 803(6)(A)-(C), if the custodian furnishes a written declaration

that: (A) the records were “made at or near the time by — or from information transmitted by —

someone with knowledge”; (B) the records were “kept in the course of a regularly conducted

activity of a business;” and (C) “making the record was a regular practice of that activity.” FED.

R. EVID. 803(6).       Here, the Google search warrant materials satisfy these requirements.

Accordingly, while the government is prepared to provide additional bases for authentication of

these emails at trial if necessary, including calling a custodian from Google, or a custodian from

the FBI to testify as to the unique SHA-256 hash number that each of these documents possesses,

the government believes the 902(11) certification satisfies the issue of authenticity, such that a

custodial witness would cause unnecessary delay. See United States v. Peninger, 456 F. App’x

214, 217 (4th Cir. 2011) (concluding Rule 902(11) certification “obviates the need for the

Government to authenticate business records at trial”).

          E.     Emails Obtained by MLAT

          In addition to the emails obtained from Google, the government will offer a smaller subset

of emails obtained by the Israel National Police during an authorized search of the Tel Aviv offices

of the technology company SpotOption (the search was requested pursuant to the Mutual Legal

Assistance Treaty (“MLAT”) protocols). 6 Among the documents produced through the MLAT

were emails between the defendant, her co-conspirators, and SpotOption employees, in which the

defendant and her co-conspirators directed SpotOption to put certain BinaryBook and BigOption




6
    Employees of the FBI, including a case agent in this investigation, were present for the search.

                                                  12
          Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 15 of 22



accounts on “high risk” (as discussed, this “high risk” setting made it more difficult for investors

to trade successfully). In addition to producing these documents to the defendant, the government

has also produced certificates from officers of the Israel National Police responsible for taking

custody of the items at SpotOption.

         The government intends to offer these documents pursuant to the provisions outlined in the

Treaty Between the Government of the United States of America and the Government of the State

of Israel on Mutual Assistance in Criminal Matters, U.S.–Isr., Jan. 26, 1998, T.I.A.S. No. 12925

(hereinafter “MLAT”). 7 Article 15 of the MLAT governs searches and seizures requested under

the treaty. Article 15(2) provides that:

                 Upon request, and to the extent possible, every official who has
                 custody of a seized item shall certify, in the manner specified by the
                 Requesting State, which may include the use of Form C appended
                 to this Treaty, the continuity of custody, the identity of the item, and
                 the integrity of its condition. No further authentication or
                 certification shall be necessary for a certification under this
                 paragraph to be admissible in evidence to prove the truth of the
                 matters asserted therein.

Ex. A at 10. The MLAT also provides the template Form C, which is a template attestation with

respect to seized articles. Ex. A at 16.

         The certificates executed by the Israel National Police are modeled the requirements of

Form C appended to the MLAT (discussed below); indeed, the executed certificates are entitled

“Form C.” Therefore, these certificates satisfy the MLAT’s requirements, and seized documents

that were produced pursuant to this MLAT — including the emails involving the defendant — are

admissible under the provisions of the MLAT. See, e.g., United States v. Odeh, 815 F.3d 968, 981

(6th Cir. 2016) (affirming admission of documents obtained pursuant to Israeli-U.S. MLAT).



7
    For ease of reference, a copy of the MLAT is attached as Exhibit A.

                                                   13
       Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 16 of 22



       F.      Financial Records from SpotOption Obtained via MLAT

       In addition to the emails recovered during SpotOption search, the Israeli government also

produced certain business records created and maintained by SpotOption.             Some of these

documents were financial records that tracked the deposits and withdrawals of certain brands

operating on the SpotOption platform. Among these records, the government identified records

showing the deposits and withdrawals of customers using BinaryBook and BigOption accounts

(i.e., the brands operated by the defendant and her co-conspirators). These records show loss

suffered by victims in this scheme. According to the records, by late 2017 victim-clients had

deposited approximately $185,000,000 into BinaryBook and BigOption accounts but had

withdrawn less than $50,000,000, amounting to net deposits of just under $150,000,000. The same

records show that the same BinaryBook and BigOption clients had less than $37 million remaining,

meaning that the clients had already recognized losses of over $113,000,000.

       Like the emails above, these documents were obtained via MLAT and are covered by the

certificates executed by an officer of the Israel National Police. Therefore, these documents should

be admissible under Article 15(2) of the MLAT. See Odeh, 815 at 981. Additionally, the

government has produced to the defendant a declaration, executed under 18 U.S.C. § 3505, from

an executive of SpotOption attesting that the documents in question were in fact SpotOption

business records made and kept in the ordinary course of business.

       Much like Federal Rule of Evidence 902(11) certifications for domestic business records,

18 U.S.C. § 3505 provides that foreign business records are admissible in criminal proceedings if

they are “record[s] kept in the course of regularly conducted business activity,” that were made “at

or near the time of the occurrence of the matters set forth, by (or from information transmitted by)

a person with knowledge of those matters.” 18 U.S.C. § 3505(a)(1)(A); see United States v.



                                                14
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 17 of 22



Osorio, 854 F.2d 1318, 1988 WL 83427, at *1 (4th Cir. July 26, 1988). Section 3505 provides

that foreign records can be authenticated through a signed certification. See 18 U.S.C. § 3505(a).

Accordingly, the SpotOption records are admissible without need for calling a custodian to provide

live testimony to authenticate the documents. See United States v. Strickland, 935 F.2d 822, 831

(7th Cir. 1991) (admitting records and noting Congressional intent to “streamline” admission of

foreign business records through § 3505 certification); United States v. Al-Imam, No. 17-cr-00213

(CRC), 2019 WL 2358365, at *4-*6 (D.D.C. June 4, 2019).

       G.      Admissibility of Translated Documents and Transcripts

       Among other evidence, the government intends to offer (1) Hebrew documents that have

been translated into English; (2) audio and video recordings containing Hebrew that have been

transcribed and translated into English; and (3) audio and video recordings in English that have

been transcribed. The government intends to offer as substantive evidence the English translations

of Hebrew documents, recordings, or videos. This is in accord with Fourth Circuit precedent and

is necessary to allow the jury to properly evaluate foreign-language evidence. With respect to

transcripts of English recordings and video, the government intends to offer these materials solely

for the aid of the jury and the Court, not as substantive evidence.

       First, the government intends to offer certified English translations of documents

containing Hebrew. In advance of trial, the government has produced the translations to the

defendant, along with certifications attesting (1) that the translator is competent to translate the

document; and (2) that the translation is true and accurate to the best of the translator’s abilities.

To date, the defense has not disputed the accuracy of any of these transcriptions or proposed

revisions or alternative translations. These certified translations are therefore admissible.




                                                 15
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 18 of 22



       Second, as for English transcripts of Hebrew audio and video files, the Fourth Circuit has

squarely concluded that “English transcripts of foreign language conversations” are admissible.

See United States v. Borda, 178 F.3d 1286, 1999 WL 294540, at *9 (4th Cir. 1999) (citations

omitted); see also United States v. Kifwa, 868 F.3d 55, 60 (1st Cir. 2017) (concluding “transcripts

containing translations” of recordings in foreign language “may be admitted”). Such transcripts

may be used in place of the original recording, though here the government intends to offer the

English translation transcripts of Hebrew audio and video alongside the original Hebrew files. See

United States v. Anyaehie, 34 F.3d 1067, 1994 WL 446801, at *1 (4th Cir. 1994) (“Foreign

language tapes need not be played before the jury when a transcript in English has been properly

admitted into evidence.”) (citation omitted). The government has provided the defense with the

transcripts of translations of foreign language recordings that it intends to offer at trial. To date,

the defense has not disputed the accuracy of any of these translations.

       Third, the jury should be permitted to review transcripts of English audio and video files

— including excerpts from the defendant’s post-arrest statement and recorded calls between

Yukom employees and clients — during trial and deliberations. The government does not seek to

admit these transcripts as substantive evidence, rather only as demonstrative aids. Because these

transcripts will greatly assist jurors at trial and during deliberation, the Court should permit their

use. See e.g., Wills, 346 F.3d at 489 (“We decided some years ago that such transcripts are

admissible.”); United States v. Turner, 37 F. App’x 701, 702 (4th Cir. 2002); United States v.

Williamston, 14 F.3d 598 (4th Cir. 1993); United States v. Collazo, 732 F.2d 1200, 1203 (4th Cir.

1984). To avoid any potential that the jurors would rely on the transcripts as substantive evidence,

the parties have proposed a jury instruction reminding the jurors that such transcripts “were given




                                                 16
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 19 of 22



to you as an aid or guide to assist you in listening to the tapes” and “are not in and of themselves

evidence.” (ECF 231, Proposed Instruction 16).

       H.      Admissibility of Statements by Non-Testifying Victims

       The government intends to offer emails that non-testifying victims sent to Yukom

employees. These emails, which, among other things, include complaints from clients about being

misled by the defendant’s employees, unauthorized transactions on their accounts, not being able

to withdraw funds, and other fraudulent activity, are not being offered for the truth of the matter

asserted therein. Rather, the government will offer these emails as evidence that the defendant

was on notice of these complaints. See United States v. Boswell, 530 F. App’x 214, 216 (4th Cir.

2013) (concluding text messages received by defendant were not hearsay when not offered to prove

whether or not the defendant actually undertook the conduct implicated in the messages); United

States v. Edelen, 561 F. App’x 226, 234-36 (4th Cir. 2014). Nor do these emails implicate

Confrontation Clause concerns as they are not testimonial. See United States v. Udeozor, 515 F.3d

260, 268 (4th Cir. 2008). Accordingly, these emails are not hearsay and should be admitted.

       I.      Newspaper Articles Sent by Defendant to a Co-Conspirator

       The government intends to offer an email that the defendant sent to a co-conspirator

including links to series of articles reporting fraud in the binary options industry. As discussed

above, the email itself is authentic, relevant, and admissible. The linked articles, which the

government intends to offer as evidence that the defendant and her co-conspirators were on notice

of rampant fraud in the industry, are admissible non-hearsay. See United States v. Romer, 148

F.3d 359, 368 (4th Cir. 1998) (concluding newspaper article defendant mentioned in a recorded

conversation was admissible, “because it was not offered to prove the truth of its contents, but

rather to place in its proper context the conspirators’ taped discussion about the article”).



                                                 17
        Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 20 of 22



       J.       Testimony Regarding Irrelevant Matters

       Finally, the defendant should be precluded from introducing evidence or eliciting

testimony relating to the filter litigation in this case or relating to the existence of the partially

unsealed indictment in United States v. Herzog, et al, Case No. 8:19-CR-77(PX). These matters

are not relevant under Federal Rule of Evidence 401 and testimony about them would

unnecessarily confuse and mislead the jury, and thus be inadmissible under Federal Rule of

Evidence 403.

       First, the Herzog Indictment is irrelevant, as the existence of an indictment in a related case

has no bearing on the defendant’s guilt and “an indictment is not evidence.” Taylor v. Kentucky,

436 U.S. 478, 480 (1978). The Herzog Indictment not only lacks probative value, mention of the

indictment also presents great “potential for ‘unfair prejudice, confusion of the issues, or

misleading the jury.’” See United States v. Mitchell, 435 F. App’x 174, 177 (4th Cir. 2011)

(quoting FED. R. EVID. 403); see also FDIC v. Harry Brown & Co., No. 2:13-cv-350-PGB, 2016

WL 503057, at *2 (M.D. Ala. Feb. 5, 2016) (“[E]vidence of criminal indictments and guilty pleas

of persons not parties in this case is of limited probative value and is substantially outweighed by

the danger of unfair prejudice, confusion of the issues, and misleading the jury . . . .”).

       Second, any information relating to the government’s filter review protocols or litigation

related thereto is similarly irrelevant and inadmissible. These issues have no bearing on the

defendant’s guilt or innocence of the crime charged, and thus would not make any fact of

consequence “more or less probable.” See FED. R. EVID. 401(a).               Courts have repeatedly

recognized that such investigative and procedural matters are irrelevant and inadmissible. See,

e.g., United States v. Lecco, 438 F. App’x 187, 191 (4th Cir. 2011) (affirming exclusion of

allegations of police conduct during the investigation as irrelevant); see also United States v.



                                                  18
       Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 21 of 22



Reyes, 18 F.3d 65, 71 (2d Cir. 1994) (“[T]he history of the investigation was not relevant to the

guilt or innocence of the defendant.”). Such matters are not only irrelevant, discussion of them

would also confuse the issues and mislead the jury, and are therefore inadmissible under Federal

Rule of Evidence 403. See United States v. Reevey, 364 F.3d 151, 157-58 (4th Cir. 2004)

(testimony regarding alleged misconduct during defendant’s arrest inadmissible because “such

evidence may have confused the issues or misled the jury”).


Dated: July 8, 2019

                                            Respectfully submitted,

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                                               19
       Case 8:18-cr-00157-TDC Document 233 Filed 07/08/19 Page 22 of 22



                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2019, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system, which will notify counsel for the defendant of the filing.



                                             By:             /s/
                                                     Caitlin R. Cottingham
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                                                20
